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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                 CASE NO. 6:24-cr-256-JA-RMN

KONSTANTINE DEAN PETROVAS
 a/k/a Dean Petrovas

                  CERTIFICATE OF INTERESTED PERSONS
                 AND CORPORATE DISCLOSURE STATEMENT

         I hereby disclose the following pursuant to this Court’s interested person’s

order:

         1.    The name of each person, attorney, association of persons, firm, law

firm, partnership, and corporation that has or may have an interest in the outcome of

this action -- including subsidiaries, conglomerates, affiliates, parent corporations,

publicly-traded companies that own 10% or more of a party’s stock, and all other

identifiable legal entities related to any party in the case:

               Roger B. Handberg, United States Attorney

               Sarah Megan Testerman, Assistant United States Attorney

               Rebecca Spears, Special Agent, Investigative Agent

               Federal Bureau of Investigation, Investigative Agency

               Konstantine Dean Petrovas, Defendant

         2.    The name of every other entity whose publicly-traded stock, equity, or

debt may be substantially affected by the outcome of the proceedings: None.
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      3.     The name of every other entity which is likely to be an active participant

in the proceedings, including the debtor and members of the creditors’ committee (or

twenty largest unsecured creditors) in bankruptcy cases: None.

      4.     The name of each victim (individual or corporate) of civil and criminal

conduct alleged to be wrongful, including every person who may be entitled to

restitution: None.


      I hereby certify that I am unaware of any actual or potential conflict of interest

involving the district judge and magistrate judge assigned to this case,

and will immediately notify the Court in writing on learning of any such conflict.

      Date: October 23, 2024.

                                        Respectfully submitted,

                                        ROGER B. HANDBERG
                                        United States Attorney

                                    By: /s/Sarah Megan Testerman
                                        Sarah Megan Testerman
                                        Assistant United States Attorney
                                        Florida Bar No. 0124884
                                        400 W. Washington Street, Suite 3100
                                        Orlando, Florida 32801
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                            CERTIFICATE OF SERVICE

       I hereby certify that on October 23, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       N/A

                                       /s/Sarah Megan Testerman
                                       Sarah Megan Testerman
                                       Assistant United States Attorney
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                                       400 W. Washington Street, Suite 3100
                                       Orlando, Florida 32801
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